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                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                      December 17, 2021
BY ECF AND EMAIL

Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re: United States v. John D. McAfee and Jimmy G. Watson Jr., 21 Cr. 138 (LGS)

Dear Judge Schofield:

        The Government respectfully submits this letter, with the consent of defendant Jimmy Gale
Watson Jr., through his counsel, to jointly request that the Court suspend the case management
schedule set forth in the Court’s September 3, 2021 scheduling order (Dkt. 33), for the reasons set
forth below.

        Since the Government’s September 2, 2021 letter, the Government has reviewed Watson’s
written submissions referenced therein and has determined, in the interest of justice and in light of
Watson’s unique circumstances, to enter into a deferred prosecution agreement with Watson.
Although the Government has made that determination in principle, the parties have not yet had
an opportunity to agree on the specific terms of such an agreement. The parties anticipate
finalizing the agreement in early 2022. In light of that anticipated resolution, the parties jointly
request that the Court suspend the current deadlines for producing Rule 16 discovery and for Rule
12(b)(3) motions. The parties further request that the Court advance the conference currently set
for March 2022 to a date in February 2022, at which time the parties anticipate resolving the matter.

      The Government has requested, and is still awaiting, official records related to the death of
Watson’s co-defendant, John David McAfee.

                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney
                                              Southern District of New York

                                          by: ________________________________________
                                              Elizabeth Hanft / Kiersten A. Fletcher
                                              Assistant United States Attorneys
                                              212-637-2334 / -2238

cc: Arnold A. Spencer, Esq.
